                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

KATHI LUCAS, JORGE LOPEZ, AND
KEITH A. FEATHER, individually and as
representatives of a class of participants and
beneficiaries on behalf of the Duke Faculty            No. 1:18-cv-00722
and Staff Retirement Plan,

                              Plaintiffs,              COMPLAINT—CLASS ACTION
v.

DUKE UNIVERSITY,                                       JURY TRIAL DEMANDED

                              Defendant.


                                        COMPLAINT

       1.        Plaintiffs Kathi Lucas, Jorge Lopez, and Keith A. Feather, individually and

as representatives of a class of participants and beneficiaries in the Duke Faculty and

Staff Retirement Plan (the “Plan”), bring this action under 29 U.S.C. §1132(a)(2) on

behalf of their Plan against Defendant Duke University for breach of fiduciary duties

under the Employee Retirement Income Security Act (ERISA) to enforce Duke’s

personal liability under 29 U.S.C. §1109(a) to make good to the Plan all losses resulting

from each breach and to restore to the Plan all profits Duke made through its use of the

Plan’s assets.


                               JURISDICTION AND VENUE

       2.        Subject-matter jurisdiction. This Court has exclusive jurisdiction over the

subject matter of this action under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it




      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 1 of 28
is an action under 29 U.S.C. §1132(a)(2).

       3.     Venue. This District is the proper venue for this action under 29 U.S.C.

§1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the subject Plan is

administered, where at least one of the alleged breaches took place, and where Duke

resides or may be found.

       4.     Standing. Section 1132(a)(2) allows recovery only for a plan, and does not

provide a remedy for individual injuries distinct from plan injuries. LaRue v. DeWolff,

Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the victim of any fiduciary

breach and the recipient of any recovery. Id. at 254. Section 1132(a)(2) authorizes any

participant, fiduciary, or the Secretary of Labor to sue on behalf of the plan to the plan’s

remedies. 29 U.S.C. §1132(a)(2). As explained in detail below, the Plan suffered over $1

million in losses caused by Duke University’s breach, and those injuries may be

redressed by a judgment of this Court in favor of Plaintiffs on behalf of the Plan. To the

extent the Plaintiffs must also show an individual injury even though §1132(a)(2) does

not provide redress for individual injuries, each Plaintiff has suffered such an injury,

because their accounts in the Plan would have been increased had Duke not taken

revenue sharing for its own benefit and instead delivered that revenue sharing to the Plan

for distribution among participant accounts and because each Plaintiff invested in a Plan

investment that paid such revenue sharing. Specifically, during the class period, among

other investments: Plaintiff Lucas invested in the Fidelity Disciplined Equity and CREF

Stock funds; Plaintiff Lopez invested in the T. Rowe Price Retirement fund; and Plaintiff


                                              2


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 2 of 28
Feather invested in the CREF Social Choice and TIAA Traditional funds. All of these

funds, and other funds in which Plaintiffs invested, paid revenue sharing from which

Duke benefitted itself as alleged herein.

                                        PARTIES

       5.     The Duke Faculty and Staff Retirement Plan is a defined contribution,

individual account, employee pension benefit plan under 29 U.S.C. §1002(2)(A) and

§1002(34). It is a qualified trust under 26 U.S.C. §403(b).

       6.     The Plan is established and maintained under a written document in

accordance with 29 U.S.C. §1102(a)(1) (“Plan document”).

       7.     Faculty and staff members of Duke University are eligible to participate in

the Plan, which provides the only source of retirement income for many of them. Plan

participants’ retirement income depends upon deferrals of their compensation,

contributions by Duke, and the performance of investment options net of fees and

expenses.

       8.     As of December 31, 2015, the Plan held $4.8 billion in assets and had

40,363 participants with account balances. As such, it is one of the largest defined

contribution plans in the United States, ranking in the top 0.018% in asset size of all

defined contribution plans that filed a Form 5500 with the Department of Labor. Plans of

such great size are commonly referred to as “jumbo plans”.

       9.     Kathi Lucas resides in Durham, North Carolina, and is currently retired.

She previously served as Project Leader in Duke’s Clinical Research Institute at Duke



                                             3


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 3 of 28
University. She is a participant in the Plan under 29 U.S.C. §1002(7) because she and her

beneficiaries are eligible to receive benefits under the Plan.

       10.    Jorge Lopez resides in Miami, Florida, and was a Service Access Manager

for Duke Family Medicine. He is a participant in the Plan under 29 U.S.C. §1002(7)

because he and his beneficiaries are eligible to receive benefits under the Plan.

       11.    Keith A. Feather resides in Hillsborough, North Carolina, and is a Case

Manager at Duke University. He is a participant in the Plan under 29 U.S.C. §1002(7)

because he and his beneficiaries are eligible to receive benefits under the Plan.

       12.    Duke University (“Duke”) is a non-profit corporation organized under

North Carolina law with its principal place of business in Durham, North Carolina. Under

§§ 13.02, 13.03, and 13.08 of the Plan document and 29 U.S.C. §1102(a), Duke is the

Named Fiduciary and Plan Administrator with fiduciary responsibility for the control,

management and administration of the Plan. Duke has exclusive responsibility and

complete discretionary authority to control the operation, management, and

administration of the Plan, with all powers necessary to enable Duke to properly carry out

such responsibilities, including the selection and compensation of Plan recordkeepers and

arranging with Plan recordkeepers rebates of excess revenue sharing. Duke acted as

alleged herein through its Board of Trustees, or one or more committees thereof, and its

officers, including without limitation, its Vice President of Human Resources and Vice

President of Administration.




                                              4


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 4 of 28
       13.    Duke is a fiduciary to the Plan because it exercised discretionary authority

and discretionary control respecting the management of the Plan, exercised authority and

control respecting the management or disposition of Plan assets, and had discretionary

authority and discretionary responsibility in the administration of the Plan, by controlling

the disposition of excess revenue sharing that Plan recordkeepers made available to the

Plan and by diverting that excess revenue sharing to accounts from which Duke paid

itself putative reimbursements for salaries and fringe benefits of its employees, as

described more fully below. 29 U.S.C. §1002(21)(A)(i) and (iii).

                           ERISA FIDUCIARY STANDARDS

       14.    ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Duke as fiduciary of the Plan. 29 U.S.C. §1104(a), states, in relevant part, that a fiduciary

“shall discharge his duties with respect to a plan solely in the interest of the participants

and beneficiaries and (A) for the exclusive purpose of (i) providing benefits to

participants and their beneficiaries; and (ii) defraying reasonable expenses of

administering the plan.”

       15.    Plan assets “shall be held for the exclusive purposes of providing benefits

to participants in the plan and their beneficiaries and defraying reasonable expenses of

administering the plan.” 29 U.S.C. §1103(c)(1).

       16.    Supplementing these general fiduciary duties, certain transactions are

prohibited per se by 29 U.S.C. §1106 because they entail a high potential for abuse.

Section 1106(a)(1) [ERISA §406(a)] states, in pertinent part, that the fiduciary



                                               5


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 5 of 28
       shall not cause the plan to engage in a transaction, if he knows or should
       know that such transaction constitutes a direct or indirect –
        (C) furnishing of goods, services, or facilities between the plan and party
       in interest; [or]
        (D) transfer to, or use by or for the benefit of a party in interest, of any
       assets of the plan[.]

       17.    As the employer of the participants in the Plan and a fiduciary, Duke is a

party in interest. 29 U.S.C. §1002(14)(A) and (C).

       18.    Under 29 U.S.C. §1106(b) [ERISA §406(b)], fiduciaries are prohibited

from engaging in self-dealing with Plan assets. Section 1106(b) provides that the

fiduciary

       shall not—
        (1) deal with the assets of the plan in his own interest or for his own
       account, [or]
        (2) in his individual or in any other capacity act in any transaction
       involving the plan on behalf of a party (or represent a party) whose interests
       are adverse to the interests of the plan or the interests of its participants or
       beneficiaries[.]

       19.    “Section 406(b) prohibits a plan fiduciary from engaging in various forms

of self-dealing. Its purpose is to ‘prevent[] a fiduciary from being put in a position where

he has dual loyalties and, therefore, he cannot act exclusively for the benefit of a plan’s

participants and beneficiaries.’” Reich v. Compton, 57 F.3d 270, 287 (3d Cir. 1995)

(Alito, J., quoting H.R. Rep. No. 93-1280 (1974)); see also 29 C.F.R. §2550.408b-

2(e)(1).

       20.    The DOL explains in 29 C.F.R. § 2550.408b-2(e)(1):

       These prohibitions are imposed upon fiduciaries to deter them from
       exercising the authority, control, or responsibility which makes such
       persons fiduciaries when they have interests which may conflict with the


                                              6


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 6 of 28
       interests of the plans for which they act. In such cases, the fiduciaries have
       interests in the transactions which may affect the exercise of their best
       judgment as fiduciaries.

       21.    Although ERISA provides for exemptions from §1106(a) prohibited

transactions (as set forth in 29 U.S.C. §1108 and the regulations thereunder), there are no

exemptions from §1106(b) prohibited transaction. 29 C.F.R. §2550.408b-2(a); 29 C.F.R.

§2550.408b-2(e); Barboza v. Cal. Ass’n of Prof'l Firefighters, 799 F.3d 1257, 1269 (9th

Cir. 2015)(citing Patelco Credit Union v. Sahni, 262 F.3d 897, 910–11 (9th Cir. 2001));

Hi-Lex Controls, Inc. v. Blue Cross Blue Shield of Mich., 751 F.3d 740, 750 (6th Cir.

2014); DOL Adv. Op. 89-09A (June 13, 1989)(1989 ERISA LEXIS 9).

       22.    29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil action to

enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109. Section

1109(a) provides in relevant part:

       Any person who is a fiduciary with respect to a plan who breaches any of
       the responsibilities, obligations, or duties imposed upon fiduciaries by this
       subchapter shall be personally liable to make good to such plan any losses
       to the plan resulting from each such breach, and to restore to such plan any
       profits of such fiduciary which have been made through use of assets of the
       plan by the fiduciary, and shall be subject to such other equitable or
       remedial relief as the court may deem appropriate, including removal of
       such fiduciary.


                                BACKGROUND FACTS

       23.    Defined contribution plans allow employees to contribute a percentage of

their pre-tax earnings to the plan, with the employer often matching those contributions

up to a specified percentage. Each participant in the plan has an individual account.



                                              7


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 7 of 28
Participants direct plan contributions into one or more investment options in a lineup

selected and maintained by the plan’s fiduciaries. “[P]articipants’ retirement benefits are

limited to the value of their own individual investment accounts, which is determined by

the market performance of employee and employer contributions, less expenses.” Tibble

v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015).

       24.    The majority of fees assessed to participants in a defined contribution plan

are attributable to two general categories of services: plan administration (including

recordkeeping) and investment management. These expenses “can sometimes

significantly reduce the value of an account in a defined-contribution plan.” Id.

       25.    The plan’s fiduciaries control defined contribution plan expenses. The

fiduciaries are responsible for hiring administrative service providers for the plan, such as

a recordkeeper, and for controlling the amount of compensation received by those

administrative service providers. The fiduciaries also control what investment options are

provided in the plan.

       26.    Recordkeeping is a service necessary for every defined contribution plan.

The recordkeeper keeps track of the amount of each participant’s investments in the

various options in the plan, and typically provides each participant with a quarterly

account statement. The recordkeeper often maintains a plan website or call center that

participants can access to obtain information about the plan and to review their accounts.

The recordkeeper may also provide access to investment education materials or




                                             8


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 8 of 28
investment advice. These services are largely commodities, and the market for

recordkeeping services is highly competitive.

       27.    Investment options in §403(b) plans include only mutual funds and

insurance company annuities. Both investment types deduct fees from the assets in the

investment that are a percentage of the daily value of the assets. The total percentage of

all fees deducted from the investment expressed on an annualized basis is called an

“expense ratio.” For example, if the mutual fund deducts fees from its assets that are

equal to 1% of assets on an annualized basis, the fund’s expense ratio would be 1%,

which is usually expressed in terms of hundredths of a percent (basis points), or 100 basis

points (bps). The fees deducted from a mutual fund’s assets reduce the value of the shares

owned by fund investors.

       28.     Many mutual funds engage in a practice known as “revenue sharing.” In a

revenue-sharing arrangement, a mutual fund pays a portion of its asset-based fees to the

entity that provides recordkeeping services to a plan, which is usually calculated as a

percentage of the plan’s assets invested in the fund. (Insurance company annuities engage

in the same practice.) The difference in fees between a mutual fund’s retail and

institutional share classes is often attributable to revenue sharing. To illustrate, a fund’s

retail share class may have an expense ratio of 100 bps, including 25 bps of revenue

sharing, while the institutional share charges 75 bps, with no or lesser revenue sharing.




                                               9


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 9 of 28
       29.    There are two primary methods for defined contribution plans to pay for

recordkeeping: direct payments from plan assets or the employer and indirect revenue

sharing payments from plan investments.

       30.    In a typical direct payment arrangement, the fiduciary contracts with the

recordkeeper for recordkeeping services for a flat annual fee based on the number of

participants (for example, $30 per participant for 40,363 participants, or $1,210,890 per

year). In an indirect, revenue sharing arrangement, plan investment options pay the plan’s

recordkeeper an asset-based fee based on the amount of plan assets invested in the fund.

Because the revenue sharing payments are asset based, the fees will increase as plan

assets increase even if the number of participants or level of services does not change.

Thus, a recordkeeper’s compensation can (and usually does) increase without any change

in the services it is providing.

       31.    A prudent fiduciary that allows revenue sharing to pay for recordkeeping

monitors the amount of the revenue sharing the recordkeeper receives each year and

limits the recordkeeping compensation to a reasonable, fixed level by obtaining rebates of

any revenue sharing amounts that exceed that level.

              DUKE’S BREACH AND PROHIBITED TRANSACTIONS

       32.    Since 2011 and until January 2019, Duke engaged four recordkeepers for

the Plan and allowed each of those providers to put their own proprietary investment

funds in the Plan—resulting in a total of more than 400 investment options in the Plan.

These investment options include mutual funds and insurance company variable annuity



                                            10


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 10 of 28
products offered by the Teachers Insurance and Annuity Association of America and

College Retirement Equities Fund (“TIAA-CREF”), the Vanguard Group Inc.

(“Vanguard”), Fidelity Investments (“Fidelity”), and the Variable Life Insurance

Company (“VALIC”). Most of these investment options paid revenue sharing to these

recordkeepers as the sole source of compensation for recordkeeping services to the Plan.

       33.    Duke was informed at least as early as 2010 that the Plan’s investment

options were providing revenue sharing that overpaid for the Plan’s recordkeeping

services provided by TIAA, Fidelity, and VALIC by more than $3.5 million per year.

       34.    Instead of recovering excess revenue sharing for the Plan, Duke arranged

with Fidelity, TIAA-CREF, and VALIC for those companies to pay Plan expenses and to

reimburse Duke for its own expenses putatively in administering the Plan, including

paying salaries and fringe benefits of employees in Duke’s Human Resources department

and other expenses Duke previously had been paying itself. Duke first established this

arrangement in 2011, arranging for Fidelity to make available $750,000, TIAA-CREF to

make available $630,000, and VALIC to make available $80,000 for payment of putative

Plan expenses. These amounts were made available for 12 months and expired if they

were not used to pay Plan expenses. In 2013, Fidelity increased its amount to $1.2

million. Duke first started paying itself from these Plan assets in 2012.

       35.    Duke did not arrange for returning excess revenue sharing back to the Plan

for allocation to participant accounts until 2014, when it arranged revenue credits

programs, but then only with Fidelity and TIAA (not VALIC). Under those programs, the


                                             11


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 11 of 28
Plan was to receive only the amounts that remained after Duke paid itself for the salaries

and fringe benefits of its employees and other expenses that it incurred. Duke did not

arrange for the revenue credit programs to include all amounts of excess revenue sharing

that participant investments had generated in prior years. Despite establishing these

revenue credit programs in 2014, Duke did not arrange for the transfer of excess revenue

sharing to participant accounts until September 2016.

       36.     Duke did not cease paying itself from the Plan’s excess revenue sharing

until August 2016, after it discovered that Plaintiffs’ attorneys were investigating

fiduciary breaches in the Plan. Plaintiffs commenced case number 16-CV-1044 in this

Court on August 10, 2016 to recover their Plan’s losses from their fiduciaries’ breach of

duty in causing the Plan to incur excessive recordkeeping administrative expenses and

excessive investment management fees, and in causing the Plan to provide imprudent

investment options.

       37.     All excess revenue sharing amounts were Plan assets, since they constituted

excessive fees generated from participant investments, and that should have been restored

to the Plan.

       38.     Duke took for itself out of these Plan assets over $1,500,000 in putative

reimbursement of employee salaries and fringe benefits the following amounts:




                                             12


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 12 of 28
                                2012       $ 319,931.48
                                2013       $ 323,448.86
                                2014       $ 332,968.74
                                2015       $ 343,417.98
                                2016       $ 238,347.86
                                Total      $ 1,558,114.92

       39.    Duke decided not to reduce the number of recordkeepers in the Plan, to

negotiate reasonable and lower recordkeeping fees for the Plan, or to remove or reduce

high-fee mutual funds and annuities from the Plan that paid revenue sharing because it

sought to maintain enough excess revenue sharing payments to pay itself for employee

salaries and fringe benefits and other expenses.

       40.    These payments included both the amount of salary Duke paid to its

employees and an additional amount that represented an estimate of the fringe benefits

Duke provided to its employees but were not calculations of the actual amounts of the

costs Duke incurred and were in fact payments of overhead expenses. These fringe

benefits included the amounts that Duke contributed to the Plan as employer on behalf of

these employees.

       41.    Duke did not enter into any contract or formal arrangement, much less a

reasonable contract or arrangement, for reimbursement of proper Plan expenses, but

instead just paid itself from Plan assets under this scheme when it had a clear conflict of

interest with the Plan and Plan participants. Duke did not hire an independent fiduciary to

determine whether it was in the interest of the participants to engage in this scheme or

whether the services that Duke employees performed were necessary for the operation of



                                             13


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 13 of 28
the Plan, whether the amounts charged for those services were reasonable, and whether

Duke was being reimbursed only its direct expenses incurred in providing necessary

services to the Plan.

       42.    Duke did not disclose this scheme to Plan participants, particularly that

Duke had arranged this scheme on its own without any review or approval by an

independent fiduciary. Plaintiffs did not discover this scheme until they pursued

discovery in case number 16-CV-1044 in the first half of 2018.

                           CLASS ACTION ALLEGATIONS

       43.    29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the Plan

to bring an action individually on behalf of the Plan to enforce a breaching fiduciary’s

liability to the Plan under 29 U.S.C. §1109(a).

       44.    In acting in this representative capacity and to enhance the due process

protections of unnamed participants and beneficiaries of the Plan, as an alternative to

direct individual actions on behalf of the Plan under 29 U.S.C. §1132(a)(2), Plaintiffs

seek to certify this action as a class action on behalf of all participants and beneficiaries

of the Plan. Plaintiffs seek to certify, and to be appointed as representatives of, the

following class:

       All participants and beneficiaries of the Duke Faculty and Staff Retirement
       Plan from August 14, 2012, through the date of judgment.

       45.    This action meets the requirements of Rule 23 and is certifiable as a class

action for the following reasons:




                                              14


      Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 14 of 28
        a.     The Class includes over 20,000 members and is so large that joinder

 of all its members is impracticable.

        b.     There are questions of law and fact common to this Class because

 Duke owed fiduciary duties to the Plan and to all participants and beneficiaries

 and took the actions and omissions alleged herein as to the Plan and not as to any

 individual participant. Thus, common questions of law and fact include the

 following, without limitation: whether Duke is a fiduciary as to the conduct at

 issue in this action; whether Duke breached its fiduciary duties to the Plan;

 whether Duke’s breach is a prohibited transaction under §1106(a) and/or

 §1106(b); whether Duke is exempt from its §1106(a) prohibited transaction under

 29 U.S.C. §1108; how Duke has profited from its use of Plan assets; what are the

 losses to the Plan resulting from Duke’s breach; and what Plan-wide equitable and

 other relief the court should impose in light of Duke’s breach of duty.

        c.     Plaintiffs’ claims are typical of the claims of the Class because each

 Plaintiff was a participant during the time period at issue in this action and all

 participants in the Plan were harmed by Duke’s alleged breach.

        d.     Plaintiffs are adequate representatives of the Class because they

 were participants in the Plan during the Class period, have no interest that is in

 conflict with the Class, are committed to the vigorous representation of the Class,

 and have engaged experienced and competent attorneys to represent the Class.




                                        15


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 15 of 28
              e.     Prosecution of separate actions for these breaches of fiduciary duties

       by individual participants and beneficiaries would create the risk of (A)

       inconsistent or varying adjudications that would establish incompatible standards

       of conduct for Duke in respect to the discharge of its fiduciary duties to the Plan

       and personal liability to the Plan under 29 U.S.C. §1109(a), and (B) adjudications

       by individual participants and beneficiaries regarding these breaches of fiduciary

       duties and remedies for the Plan would, as a practical matter, be dispositive of the

       interests of the participants and beneficiaries not parties to the adjudication or

       would substantially impair or impede those participants’ and beneficiaries’ ability

       to protect their interests. Therefore, this action should be certified as a class action

       under Rule 23(b)(1)(A) or (B).

       46.    Plaintiffs’ counsel, Schlichter Bogard & Denton LLP, will fairly and

adequately represent the interests of the Class and is best able to represent the interests of

the Class under Rule 23(g).

              a.     Schlichter, Bogard & Denton has been appointed as class counsel in

       17 other ERISA class actions regarding excessive fees in large defined

       contribution plans. As Chief Judge Michael J. Reagan of the Southern District of

       Illinois recognized in approving a settlement which was reached on the eve of trial

       after eight years of litigation, resulting in a $62 million monetary recovery and

       very substantial affirmative relief to benefit the Plans, the firm had shown

       “exceptional commitment and perseverance in representing employees and retirees


                                              16


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 16 of 28
 seeking to improve their retirement plans,” and “demonstrated its well-earned

 reputation as a pioneer and the leader in the field” of 401(k) plan excessive fee

 litigation. Abbott v. Lockheed Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS

 93206, at 4–5 (S.D.Ill. July 17, 2015). In that same case, Judge Reagan

 recognized that the law firm of “Schlichter, Bogard & Denton has had a

 humungous impact over the entire 401(k) industry, which has benefited employees

 and retirees throughout the entire country by bringing sweeping changes to

 fiduciary practices.” Abbott, 2015 U.S. Dist. LEXIS 93206, at 9 (internal

 quotations omitted).

          b.   Other courts have made similar findings: “It is clear to the Court that

 the firm of Schlichter, Bogard & Denton is preeminent in the field” “and is the

 only firm which has invested such massive resources in this area.” George v. Kraft

 Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 166816 at 8 (N.D. Ill.

 June 26, 2012).

          c.   “As the preeminent firm in 401(k) fee litigation, Schlichter, Bogard

 & Denton has achieved unparalleled results on behalf of its clients.” Nolte v.

 Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS 184622 at 8 (C.D. Ill. Oct. 15,

 2013).

          d.   “Litigating this case against formidable defendants and their

 sophisticated attorneys required Class Counsel to demonstrate extraordinary skill

 and determination.” Beesley v. Int’l Paper Co., No. 06-703, 2014 U.S.Dist.LEXIS


                                      17


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 17 of 28
 12037 at 8 (S.D. Ill. Jan. 31, 2014). The court also emphasized that “the law firm

 of Schlichter, Bogard & Denton is the leader in 401(k) fee litigation.” Id. at 8

 (internal quotations omitted).

         e.     U.S. District Court Judge Baker acknowledged the significant

 impact of the firm’s work by stating that as of 2013 the nationwide “fee reduction

 attributed to Schlichter, Bogard & Denton’s fee litigation and the Department of

 Labor’s fee disclosure regulations approach $2.8 billion in annual savings for

 American workers and retirees.” Nolte, 2013 U.S. Dist. LEXIS 184622, at 6

 (emphasis added).

         f.    U.S. District Judge Herndon of the Southern District of Illinois,

 recognized the firm’s extraordinary contributions to the retirement industry:

 “Schlichter, Bogard & Denton and lead attorney Jerome Schlichter’s diligence and

 perseverance, while risking vast amounts of time and money, reflect the finest

 attributes of a private attorney general[.]” Beesley, 2014 U.S. Dist. LEXIS 12037,

 at 8.

         g.    U.S. District Court Judge G. Patrick Murphy recognized the work of

 Schlichter Bogard & Denton as exceptional:

     Schlichter, Bogard & Denton’s work throughout this litigation
     illustrates an exceptional example of a private attorney general risking
     large sums of money and investing many thousands of hours for the
     benefit of employees and retirees. No case had previously been brought
     by either the Department of Labor or private attorneys against large
     employers for excessive fees in a 401(k) plan. Class Counsel performed
     substantial work … investigating the facts, examining documents, and
     consulting and paying experts to determine whether it was viable. This

                                       18


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 18 of 28
    case has been pending since September 11, 2006. Litigating the case
    required Class Counsel to be of the highest caliber and committed to the
    interests of the participants and beneficiaries of the General Dynamics
    401(k) Plans.

 Will v. Gen. Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349, at 8–9

 (S.D.Ill. Nov. 22, 2010).

        h.     Schlichter Bogard & Denton handled the only full trial of an ERISA

 excessive fee case, resulting in a $36.9 million judgment for the plaintiffs that was

 affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc., 746 F.3d 327 (8th Cir.

 2014). In awarding attorney’s fees after trial, the district court concluded that

 “Plaintiffs’ attorneys are clearly experts in ERISA litigation.” Tussey v. ABB, Inc.,

 No. 06-4305, 2012 U.S.Dist.LEXIS 157428 at 10 (W.D. Mo. Nov. 2, 2012).

 Following remand, the district court again awarded Plaintiffs’ attorney’s fees,

 emphasizing the significant contribution Plaintiffs’ attorneys have made to ERISA

 litigation, including educating the Department of Labor and federal courts about

 the importance of monitoring fees in retirement plans:

    Of special importance is the significant, national contribution made by
    the Plaintiffs whose litigation clarified ERISA standards in the context
    of investment fees. The litigation educated plan administrators, the
    Department of Labor, the courts and retirement plan participants about
    the importance of monitoring recordkeeping fees and separating a
    fiduciary’s corporate interest from its fiduciary obligations.


 Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818, at 7–8 (W.D.

 Mo. Dec. 9, 2015).




                                       19


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 19 of 28
        i.     In Spano v. Boeing Co., in approving a settlement reached after nine

 years of litigation which included $57 million in monetary relief and substantial

 affirmative relief to benefit participants, the court found that “[t]he law firm

 Schlichter, Bogard & Denton has significantly improved 401(k) plans across the

 country by bringing cases such as this one, which have educated plan

 administrators, the Department of Labor, the courts and retirement plan

 participants about the importance of monitoring recordkeeping fees.” No. 06-cv-

 743, Doc. 587 at 5–6 (S.D.Ill. Mar. 31, 2016) (Rosenstengel, J.) (internal

 quotations omitted).

        j.     Recently, in approving a settlement including $32 million plus

 significant affirmative relief, Chief Judge William Osteen in Kruger v. Novant

 Health, Inc., No. 14-208, Doc. 61, at 7–8 (M.D.N.C. Sept. 29, 2016) found that

 “Class Counsel’s efforts have not only resulted in a significant monetary award to

 the class but have also brought improvement to the manner in which the Plans are

 operated and managed which will result in participants and retirees receiving

 significant savings[.]”

        k.     On November 3, 2016, Judge Michael Ponsor of the United States

 District Court for the District of Massachusetts found that by securing a $30.9

 million settlement, Schlichter, Bogard & Denton had achieved an “outstanding

 result for the class,” and “demonstrated extraordinary resourcefulness, skill,




                                       20


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 20 of 28
      efficiency and determination.” Gordan v. Mass Mutual Life Ins., Co., No. 14-

      30184, Doc. 144 at 5 (D. Mass. November 3, 2016).

             l.     Schlichter Bogard & Denton is also class counsel in and handled

      Tibble v. Edison International—the first and only Supreme Court case to address

      the issue of excessive fees in a defined contribution plan—in which the Court held

      in a unanimous 9–0 decision that ERISA fiduciaries have “a continuing duty to

      monitor investments and remove imprudent ones[.]” 135 S. Ct. at 1829. Schlichter,

      Bogard & Denton successfully petitioned for a writ of certiorari, and obtained

      amicus support from the United States Solicitor General and AARP, among

      others. Given the Court’s broad recognition of an ongoing fiduciary duty, the

      Tibble decision will affect all ERISA defined contribution plans.

             m.     The firm’s work in ERISA excessive fee class actions has been

      featured in the New York Times, Wall Street Journal, NPR, Reuters, and

      Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k) Fees,

      Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);1 Gretchen

      Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);2 Liz

      Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23, 2015);3

      Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y. TIMES (Oct. 16,

 1
   Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-lower-
1463304601.
 2
   Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-401-
k-s.html?_r=0.
 3
   Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-plans-
1424716527.

                                           21


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 21 of 28
      2014);4 Sara Randazzo, Plaintiffs’ Lawyer Takes on Retirement Plans, WALL ST.

      J. (Aug. 25, 2015);5 Jess Bravin and Liz Moyer, High Court Ruling Adds

      Protections for Investors in 401(k) Plans, WALL ST. J. (May 18, 2015); 6 Jim

      Zarroli, Lockheed Martin Case Puts 401(k) Plans on Trial, NPR (Dec. 15, 2014);7

      Mark Miller, Are 401(k) Fees Too High? The High-Court May Have an Opinion,

      REUTERS (May 1, 2014);8 Greg Stohr, 401(k) Fees at Issue as Court Takes Edison

      Worker Appeal, BLOOMBERG (Oct. 2, 2014).9

      47.    This Court certified a class action under Rule 23(b)(1) alleging ERISA

fiduciary breaches regarding the same Plan and appointed the same Plaintiffs as class

representatives and their firm as class counsel in case number 16-CV-1044 on April 13,

2018 (Doc. 96) and this action should be certified under Rule 23(b)(1) for the same

reasons.

                                        COUNT I

      48.    Plaintiffs restate all of the foregoing allegations.

      49.    Duke dealt with the assets of the Plan in its own interest and for its own

 4
    Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-really-
owes-employees.html?_r=0.
  5
    Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-
retirement-plans/.
  6
    Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-
investors-in-401-k-plans-1431974139.
  7
    Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-puts-
401-k-plans-on-trial.
  8
    Available at http://www.reuters.com/article/us-column-miller-401fees-
idUSBREA400J220140501.
  9
    Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-at-
issue-as-court-takes-edison-worker-appeal.

                                             22


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 22 of 28
account by diverting revenue sharing to itself for reimbursement of employee salaries and

fringe benefits and other expenses instead of recovering that revenue sharing for the Plan

and Plan participants. 29 U.S.C. §1106(b)(1).

       50.    Duke dealt with the assets of the Plan in its own interest and for its own

account by maintaining four recordkeepers in the Plan and their proprietary investment

options and keeping as Plan investments mutual funds and annuities that paid excessive

amounts of revenue sharing to the Plan vendors and generated excess revenue sharing. 29

U.S.C. §1106(b)(1).

       51.    By establishing expense reimbursement accounts and revenue credit

programs that delivered revenue sharing to Duke in the form of reimbursement of

employee salaries and fringe benefits and other expenses instead of delivering revenue

sharing to the Plan and by paying itself from those accounts, Duke acted on behalf of a

party whose interests were adverse to the interests of the Plan or the interests of its

participants or beneficiaries (namely, itself). 29 U.S.C. §1106(b)(2).

       52.    The payments to itself described above constitute prohibited transactions by

Duke as a fiduciary to the Plan and Duke is obligated to disgorge to the Plan all amounts

it received and must make good to the Plan all losses the Plan suffered from being

deprived of those assets, namely, the gains the Plan would have earned had those

amounts been restored to the Plan. 29 U.S.C. §1109(a); Barboza, 799 F.3d at 1269; Hi-

Lex Controls, 751 F.3d at 750.

       53.    To the extent that the arrangement and payments described above are


                                              23


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 23 of 28
determined not to constitute prohibited transactions under §1106(b), they are prohibited

transactions under §1106(a) because Duke, acting through its officers, employees, and

agents, caused the Plan to engage in transactions—payment of excess revenue sharing to

Duke and allowing Duke employees to provide services to the Plan—that it knew or

should have known constituted a direct or indirect furnishing of services between the

Plan and a party in interest (Duke) or the transfer to, or use by or for the benefit of a party

in interest (Duke), of Plan assets in the form of revenue sharing. 29 U.S.C.

§1106(a)(1)(C)–(D).

         54.   Although ERISA provides that §1106(a) “shall not apply to ... (2)

Contracting or making reasonable arrangements with a party in interest for ... services

necessary for the establishment or operation of the plan, if no more than reasonable

compensation is paid therefor” (29 U.S.C. §1108(b)(2) [ERISA §408(b)(2)]), to satisfy

that exemption Duke must prove that each service for which Duke was reimbursed was

(1) “necessary for the establishment or operation of the plan”, (2) “furnished under a

contract or arrangement which is reasonable,” and (3) “[n]o more than reasonable

compensation is paid for such ... service.” 29 C.F.R. §2550.408b-2(a). Proving

satisfaction of this exemption is an affirmative defense on which Duke has the burden of

proof.

         55.   Without conceding the satisfaction of any element of 29 C.F.R.

§2550.408b-2(a), Plaintiffs contend Duke cannot satisfy that exemption at least for the

following reasons.


                                              24


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 24 of 28
       56.    The services for which Duke was reimbursed were not provided to the Plan

under any reasonable contract or arrangement between the Plan and those individuals or

Duke, much less a written contract that specified the services to be provided, how they

were necessary for the operation of the Plan, or the compensation to be paid for such

services. Instead, Duke just requested, and obtained for itself, reimbursement of these

expenses after the fact.

       57.    The amounts paid to Duke were not reasonable because they were more

than the Plan would have paid had a loyal and prudent fiduciary engaged experienced

providers for such services—indeed, the same services to the extent necessary to the

operation of the Plan were provided or could have been provided by the Plan’s four

recordkeepers— and because the reimbursements were not for direct expenses, in that

Duke would have sustained the expense of its employees’ salaries and fringe benefits

even if those employees had not provided any services to the Plan. 29 C.F.R.

§2550.408c-2(b).

       58.    Duke was entitled to receive reimbursement of employee salaries and other

expenses without engaging in a prohibited transaction under §1106(a) only if an

independent fiduciary determined the services provided by the employee were necessary

to the operation of the Plan and the reimbursement to Duke was reasonable and

constituted only the reimbursement of direct expenses. 29 C.F.R. § 2550.408b-2(e),

§2550.408c-2(b); DOL Adv. Op. 89-09A (June 13, 1989); DOL Adv. Op. 97-03A (Jan.

23, 1997). An independent fiduciary did not determine the services for which Duke


                                            25


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 25 of 28
University was reimbursed were necessary to the operation of the Plan, that the amount

of the reimbursement was reasonable for the services provided, or that the reimbursement

paid only direct expenses under 29 C.F.R. § 2550.408b-2(e) and §2550.408c-2(b).

Duke’s making those determinations on its own and for its own benefit was a clear

conflict of interest and prohibited transactions under §1106(b).

       59.       Duke further breached its fiduciary duties to the Plan under 29 U.S.C.

§1104(a)(1)(A) and (B) by failing to recover for the Plan all excess revenue sharing

participant investments in the Plan had generated in the years preceding the establishment

of the reimbursement credit programs. The Plan suffered losses from that breach in the

amount of that revenue sharing and the gains that the Plan would have earned had the

revenue sharing been restored promptly to the Plan.

                                    JURY TRIAL DEMANDED

       60.       Under Fed.R.Civ.P. 38 and the Constitution of the United States, Plaintiffs

demand a trial by jury.

                                   PRAYER FOR RELIEF

       For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated Plan

participants and beneficiaries, respectfully request that the Court:

              Find and declare that Duke breached its fiduciary duties as described

                  above;

                 Find and adjudge that Duke is personally liable to make good to the Plan

                  all losses to the Plan resulting from each breach of fiduciary duty and all



                                               26


     Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 26 of 28
         profits Duke made from it use of Plan assets, and to otherwise restore the

         Plan to the position it would have occupied but for Duke’s breach;

        Determine the method by which Plan losses under 29 U.S.C. §1109(a)

         should be calculated;

        Order Duke to provide all accountings necessary to determine the

         amounts it must make good to the Plan and to determine Duke’s profits

         from its use of Plan assets under §1109(a);

        Surcharge against Duke and in favor of the Plan all amounts involved in

         any transactions which such accounting reveals were improper, excessive,

         or otherwise in violation of ERISA;

        Certify the Class, appoint each of the Plaintiffs as a class representative,

         and appoint Schlichter Bogard & Denton LLP as Class Counsel;

        Award to the Plaintiffs and the Class their attorney’s fees and costs under

         29 U.S.C. §1132(g)(1) and the common fund doctrine;

        Order the payment of interest to the extent it is allowed by law;

        Prohibit Duke from receiving any Plan assets, even as putative

         reimbursement of employee salaries, unless an independent fiduciary

         acting solely in the interest of the Plan determines that such a payment

         complies with ERISA; and

      Grant other equitable or remedial relief as the Court deems appropriate.




                                      27


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 27 of 28
                            Respectfully submitted,

                            /s/ David B. Puryear, Jr.
                            David B. Puryear, Jr.
                            North Carolina State Bar No. 11063
                            PURYEAR AND LINGLE, PLLC
                            5501-E Adams Farm Lane
                            Greensboro, NC 27407
                            (336) 218-0227
                            puryear@puryearandlingle.com

                            Local Counsel for Plaintiffs



                            SCHLICHTER BOGARD & DENTON LLP
                            Jerome J. Schlichter, MO State Bar No. 32225*
                            Michael A. Wolff, MO State Bar No. 38207*
                            Kurt C. Struckhoff, MO State Bar No. 61873*
                            100 South Fourth Street, Ste. 1200
                            St. Louis, MO 63102
                            Phone: (314) 621-6115
                            Fax: (314) 621-5934
                            jschlichter@uselaws.com
                            mwolff@uselaws.com
                            kstruckhoff@uselaws.com
                            *To be admitted Pro Hac Vice

                            Lead Counsel for Plaintiffs




                               28


Case 1:18-cv-00722-CCE-LPA Document 1 Filed 08/20/18 Page 28 of 28
